915 F.2d 1574
    Wright (Elizabeth), as Liquidator for Delta America ReInsurance Companyv.Andrew Edwards &amp; Company, Inc., Balis &amp; Company, Inc.,Wilcox Inc., Sullivan Payne Company, Towers,Perrin, Forster &amp; Crosby, Inc., Frank B.Hall Re of New York, Inc.
    NOS. 90-5906 to 90-5908, 90-5954, 90-5944, 90-5953.
    United States Court of Appeals,Sixth Circuit.
    OCT 01, 1990
    
      1
      Appeal From:  E.D.Ky.
    
    
      2
      DISMISSED.
    
    